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 5                                    UNITED STATES DISTRICT COURT
 6                                   EASTERN DISTRICT OF CALIFORNIA
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 8       Timothy Daubert and Roger Cortez;                        CASE NO. 1:14-CV-00068
 9                             Plaintiffs,                        ORDER DENYING IN PART AND
                                                                  GRANTING IN PART DEFENDANT’S
10                    v.                                          MOTION TO DISMISS AND DENYING
                                                                  APPLICATION FOR STAY AND
11       City of Lindsay,                                         EARLY EVALUATION CONFERENCE
12                             Defendants
                                                                  (Docs. No. 4 and 6)
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16             Plaintiffs Timothy Daubert (“Daubert”) and Roger Cortez (“Cortez”) (“Plaintiffs,”
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     collectively) bring this action against the City of Lindsay (“City”). Plaintiffs allege disability-
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     related causes of action under the Americans with Disabilities Act (“ADA”), the Rehabilitation
19
     Act (“RA”), and the California Disabled Persons Act (“DPA”). The City filed this Rule 12(b)6
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21   motion to dismiss Plaintiff Cortez‟s complaint in full for failure to state a claim upon which relief

22   can be granted. Subsequently, the City filed an application for stay and an early evaluation

23   conference. For the reasons set forth below, the City‟s motion will be denied in part and granted in
24   part. The application for stay and early evaluation conference will be denied.
25
                                                     I.       Background1
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              Cortez‟s great-granddaughter has significant disabilities, including lack of motor skills,
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28    Motions to dismiss accept as true the background factual allegations alleged in the complaint as required by Rule
     12(c) of the Rules of Federal Procedure. This Court does not adjudge these allegations to be true or false.
     and uses a wheelchair for mobility. Doc. No. 1, (“Complaint”) at ¶ 5; Doc. No. 18 at 2:13-14.
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 2   Cortez‟s great-granddaughter is a “qualified person with a disability” and a “physically disabled

 3   person” as those terms are used under the ADA, the RA, and the CDPA. Doc. No. 1, Complaint at

 4   ¶ 5.
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            The City owns, controls, and maintains Lindsay City Park (“Park”), which includes
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     pedestrian paths and public facilities. Doc. No. 1, Complaint at ¶ 8. The pedestrian paths are made
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     of sand and are often wet from sprinkler use. Doc. No. 1, Complaint at ¶ 20(a). A sandy path is the
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     only access to the Park‟s restroom facilities. Doc. No. 1, Complaint at ¶ 20(b). The path to the
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10   Park‟s Community Center is primarily made of sand and is crossed by an approximately one-inch

11   hump. Doc. No. 1, Complaint at ¶ 20(c).
12          On May 22, 2013 and on other dates, Cortez visited the park with his great-granddaughter.
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     Doc. No. 1, Complaint at ¶ 21. Cortez pushes her wheelchair through the park, as her disabilities
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     require. Id. Cortez has significant difficulty navigating his granddaughter‟s wheelchair along the
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     pedestrian paths and accessing the Park‟s facilities. Doc. No. 1, Complaint at ¶ 22. Conditions at
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17   the Park cause Cortez to “experience difficulty and feel anxious, frustrated, embarrassed,

18   conspicuous, unwelcomed and like second class citizens.” Doc. No. 1, Complaint at ¶ 24. Cortez

19   would like to return to visit the Park with his great-granddaughter in the future. Doc. No. 1,
20   Complaint at ¶ 25. Because of his association with his great-granddaughter, Cortez is denied full
21
     and equal access to the programs, services and activities that the Park offers the general public.
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     Doc. No. 1, Complaint at ¶ 25; Doc. No. 18 at 2:12-13.
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            On January 16, 2014, Plaintiffs filed this action alleging violations of ADA Title II, 42
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25   U.S.C. §§ 12131 et seq.; RA Section 504, 29 U.S.C. § 794; and, the DPA, Cal. Civ. Code §§ 54 et

26   seq. On January 28, 2014, the City filed this Rule 12(b)6 motion for failure to state a claim upon

27   which relief can be granted. Doc. No. 4, (“Motion”). The City asserts that Cortez lacks standing
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     under all relevant causes of action because he has not alleged that he is a qualified disabled person

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     under any of the disabilities protection acts and that the associational provisions of each statute do
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 2   not extend to cover Cortez‟s claims. See Doc. No. 4, Motion. Additionally, the City filed a motion

 3   for a stay of proceedings pursuant to California Civil Code Section 55.54(d)(1) and an early

 4   evaluation conference pursuant to California Civil Code Section 55.54(d)(2). Doc. No. 6.
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                                              II.     Legal Standard
 6
            The City filed a Rule 12(b)(6) motion for failure to state a claim upon which relief can be
 7
     granted. The City‟s argues that Cortez lacks standing under all relevant causes of action. Thus, this
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     motion is properly considered under Rule 12(b)(1) for lack of subject matter jurisdiction.
 9

10          Federal courts are courts of limited jurisdiction. Complaints are subject to a motion to

11   dismiss where the court lacks subject matter jurisdiction. Fed. R. Civ. P. 12(b)(1). The plaintiff
12   carries the burden of proof of the existence of subject matter jurisdiction. Thompson v. McCombe,
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     99 F.3d 352, 353 (9th Cir. 1996). To satisfy subject matter jurisdiction pleading standards, the
14
     Ninth Circuit succinctly explains:
15
            “To invoke a federal court's subject-matter jurisdiction, a plaintiff needs to provide only „a
16          short and plain statement of the grounds for the court's jurisdiction.‟ Fed. R. Civ. P.
17          8(a)(1). The plaintiff must allege facts, not mere legal conclusions, in compliance with the
            pleading standards established by Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 127 S.Ct.
18          1955, 167 L.Ed.2d 929 (2007), and Ashcroft v. Iqbal, 556 U.S. 662, 129 S.Ct. 1937, 173
            L.Ed.2d 868 (2009).”
19
     Leite v. Crane Co., 749 F.3d 1117, 1121 (9th Cir. 2014).
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21          A defendant may challenge subject matter jurisdiction in one of two ways: through a

22   “facial attack” or a “factual attack.” Leite v. Crane Co., 749 F.3d 1117, 1121 (9th Cir. 2014). A

23   facial attack challenges the sufficiency of the plaintiff‟s allegation to invoke federal jurisdiction
24   whereas a factual attack challenges the truth of the allegations. Leite v. Crane Co., 749 F.3d 1117,
25
     1121 (9th Cir. 2014); Pride v. Correa, 719 F.3d 1130, 1133 n. 6 (9th Cir. 2013). Here, Defendant
26
     challenges the facial sufficiency of Plaintiff‟s pleading since Cortez has not shown an “adverse
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     action against the Plaintiff himself [and] Plaintiff cannot establish a claim for associational
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     discrimination” within the meaning of the ADA, Doc. No. 4, Motion at 10:1, “there are no factual
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 2   allegations that Plaintiff himself is an individual with a disability” for purposes of the RA, id. at

 3   10:18, and “Plaintiff has not demonstrated that he is disabled” or alleged that he “was denied equal

 4   access to the City‟s Park” for purposes of the DBA, id. at 12:20-22.
 5
            The district court resolves a facial challenge as it would a Rule 12(b)(6) motion to dismiss
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     and is limited to considering the allegations in the complaint. Leite v. Crane Co., 749 F.3d 1117,
 7
     1121-22 (9th Cir. 2014); Wolfe v. Strankman, 392 F.3d 358, 362 (9th Cir. 2004). In reviewing a
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     complaint under Rule 12(b)(6), all of the complaint‟s factual allegations are taken as true, and the
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10   facts are construed in the light most favorable to the non-moving party. Marceau v. Blackfeet

11   Hous. Auth., 540 F.3d 916, 919 (9th Cir. 2008); Vignolo v. Miller, 120 F.3d 1075, 1077 (9th Cir.
12   1999). The court must also assume that general allegations embrace the necessary, specific facts to
13
     support the claim. Smith v. Pacific Prop. & Dev. Corp., 358 F.3d 1097, 1106 (9th Cir.
14
     2004). However, the court is not required “to accept as true allegations that are merely conclusory,
15
     unwarranted deductions of fact, or unreasonable inferences.” In re Gilead Scis. Sec. Litig., 536
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17   F.3d 1049, 1056-57 (9th Cir. 2008); Sprewell v. Golden State Warriors, 266 F.3d 979, 988 (9th

18   Cir. 2001). Although they may provide the framework of a complaint, legal conclusions are not

19   accepted as true and “[t]hreadbare recitals of elements of a cause of action, supported by mere
20   conclusory statements, do not suffice.” Ashcroft v. Iqbal, 129 S.Ct. 1937, 1949-50 (2009).
21
                                                 III.    Discussion
22
        a. Americans with Disabilities Act Title II Standing
23
            Cortez alleges an association discrimination claim under ADA Title II. Doc. No. 1,
24

25   Complaint at ¶ 38. The City argues that this cause of action should be dismissed for failure to state

26   a claim upon which relief can be granted. Doc. No. 4, Motion at 7:12-28, 8:1. Specifically, the

27   City argues that Cortez lacks standing under ADA Title II because he has failed to allege that he is
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     an individual with a disability, that Title II does not vest enforcement rights in non-disabled

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     individuals, and that the ADA association provision found in Title III does not apply against
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 2   public entities. Doc. No. 4, Motion at 7:12-28, 8:1. Moreover, the City alleges Cortez “has pleaded

 3   no facts showing that he personally suffered a separate and distinct injury.” Doc. No. 13 at 2:2-3.

 4   The City‟s argument is unpersuasive.
 5
                      i.      Title II’s Enforcement Provision
 6
               Title II‟s antidiscrimination provision states that, “no qualified individual with a disability
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     shall, by reason of such disability, be excluded from participation in or be denied the benefits of
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     the services, programs, or activities of a public entity, or be subjected to discrimination by any
 9

10   such entity.” 42 U.S.C. § 12132. Title II is devoid of language that expressly allows non-disabled

11   plaintiffs to bring a claim in support of disabled persons. However, Title II‟s enforcement
12   provision states that Title II‟s rights and remedies “shall be the remedies, procedures, and rights
13
     this subchapter provides to any person alleging discrimination on the basis of disability…” 42
14
     U.S.C. § 12133 (emphasis added). The Court must determine whether the language “any person”
15
     extends the right of enforcement beyond those whom Title II directly protects.
16

17             The City argues that a comparison between Title II‟s enforcement provision and Title III‟s

18   associational enforcement provision, which applies only to places of public accommodation,

19   precludes associational standing under Title II. See Doc. No. 4, Motion at 4:12-28, 5:1, 7:12-9:10.
20   In contrast to Title II‟s enforcement provision discussed supra, Title III‟s associational provision
21
     states:
22
               “It shall be discriminatory to exclude or otherwise deny equal goods, services, facilities,
23             privileges, advantages, accommodations, or other opportunities to an individual or entity
               because of the known disability of an individual with whom the individual or entity is
24             known to have a relationship or association.”
25
     42 U.S.C. 12182(b)(1)(E). Title II‟s implementing regulations closely follow Title III‟s association
26
     provision by providing:
27

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                                                          5
             “A public entity shall not exclude or otherwise deny equal services, programs, or activities
 1           to an individual or entity because of the known disability of an individual with whom the
 2           individual or entity is known to have a relationship or association.”

 3   28 C.F.R. § 35.130(g).

 4           The City urges a narrow interpretation of Title III‟s associational provision and Title II‟s
 5
     implementing regulations. The City points to a Department of Justice Technical Assistance
 6
     Manual to support the proposition that Congress intended to confer associational standing only
 7
     when the public entity knowingly discriminates against the individual on the basis that the
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     individual associates with someone with a disability, such as an individual who is denied a city
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10   permit because she is an associate of an HIV-positive person. Doc. No. 4, Motion at 8; see

11   Americans with Disabilities Act Title II Technical Assistance Manual Covering Accommodations
12   and Commercial Facilities, § II-3.900. While the scenario the City advances is an appropriate one
13
     to confer associational standing, it is not the only scenario that can confer such standing to allege
14
     an associational claim under Title II.
15
             In Winkelman ex rel. Winkelman v. Parma City School District, 550 U.S. 516 (2007), the
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17   Supreme Court considered whether parents of a boy with autism had standing to represent their

18   son in court without legal representation when the parents were dissatisfied with administrative

19   proceedings to establish an independent education program for their autistic son. The Court
20   examined the Individuals with Disabilities Education Act and concluded that there was “no
21
     obstacle in the law to finding an intention by Congress to grant parents a stake in the entitlements
22
     created by IDEA. Without question a parent of a child with a disability has a particular and
23
     personal interest in fulfilling „our national policy of ensuring equality of opportunity, full
24

25   participation, independent living, and economic self-sufficiency for individuals with disabilities.‟”

26   Id. at 529.

27           In Blanchard v. Morton School District, 509 F.3d 934 (9th Cir. 2007), the Ninth Circuit
28
     extended the policy behind the IDEA to both ADA Title II and RA Section 504 claims. In

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     Blanchard, the mother of an autistic boy filed suit against the Morton School District, alleging
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 2   violations of the Individuals with Disabilities Education Act, the ADA, and the RA. Id. The Ninth

 3   Circuit held that the mother had associational standing “insofar as she is asserting and enforcing

 4   the rights of her son and incurring expenses for his benefit.” Id. at 938.
 5
            In Barker v. Riverside County Office of Education, 584 F.3d 821, 827 (9th Cir. 2009), a
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     special education teacher filed an anti-retaliation claim under ADA Title II and RA Section 504
 7
     against the local school district. The teacher alleged that she was fired in retaliation for advocating
 8
     on behalf of disabled students. Id. at 824. The Ninth Circuit found that the teacher had standing
 9

10   and concluded that, “the language employed in the anti-retaliation provisions of Title II does not

11   evince a congressional intent to limit standing to individuals with disabilities. Instead, the use of
12   the phrase „any individual‟ and the absence of any language limiting standing to those with
13
     disabilities indicates Congress's intent to grant standing under Title II „as broadly as is permitted
14
     by Article III of the Constitution.‟” Id. at 827 (internal citations omitted). The court further found
15
     that, “it appears that in formulating the language in Title II's anti-retaliation provisions, Congress
16

17   recognized that disabled individuals may require assistance from others to defend their rights.” Id.

18          Likewise, in Cortez v. City of Porterville, 1:14-CV-00061-LJO, 2014 WL 1101228 (E.D.

19   Cal. Mar. 20, 2014), the plaintiff‟s granddaughter was confined to a wheelchair. In order to take
20   his granddaughter to watch his grandson play baseball at a sports complex, the plaintiff had to
21
     carry his granddaughter and her wheelchair over a grassy track from the parking lot to the playing
22
     field. Id. at *1. The plaintiff filed a claim under ADA Title II and the defendant city filed a motion
23
     to dismiss for failure to state a claim upon which relief can be granted predicated upon a lack of
24

25   associational standing. The Cortez court succinctly explained:

26          “Title II provides a remedy to any person alleging discrimination on the basis of disability
            in violation of section 12132. The language employed in the enforcement provision does
27          not evince a congressional intent to limit standing to individuals with disabilities. Instead,
            the use of the phrase „any person‟ and the absence of any language limiting standing to
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            those with disabilities indicates Congress's intent to grant standing under Title II as broadly
 1          as is permitted by Article III of the Constitution.”
 2
     Id. at *3 (emphasis in original) (internal citations omitted); see also Transp. Workers Union of
 3
     Am., Local 100, AFL-CIO v. New York City Transit Auth., 342 F. Supp. 2d 160, 165 (S.D.N.Y.
 4
     2004) (recognizing union‟s standing to enforce members‟ Title II‟s rights predicated on Title II
 5

 6   creating a cause of action for “any person alleging discrimination on the basis of disability”)

 7   (emphasis in original).

 8          The ability of an individual without a disability to assert claims under Title II is consistent
 9
     with Congress‟ purpose in enacting the ADA. Congress intended the ADA “to provide a clear and
10
     comprehensive national mandate for the elimination of discrimination against individuals with
11
     disabilities” and “to provide clear, strong, consistent, enforceable standards addressing
12
     discrimination against individuals with disabilities.” 42 U.S.C. § 12101(b)(1),(2). Such standing
13

14   under Title II advances “the Nation‟s proper goals … to assure equality of opportunity, full

15   participation, independent living, and economic self-sufficiency for such individuals.” 42 U.S.C. §
16   12101(a)(7).
17
            In consideration that disabled individuals may require assistance from others to defend
18
     their rights and that the language “any person” in the enforcement provision does not evince
19
     congressional intent to limit standing to individuals with disabilities, the Court holds that Cortez
20

21   has standing to assert a Title II associational claim.

22                  ii.     Article III Standing

23          The City alleges Cortez “has pleaded no facts showing that he personally suffered a
24   separate and distinct injury.” Doc. No. 13 at 2:2-3. Thus, the City has challenged Cortez‟s Article
25
     III standing. To establish Article III standing:
26
            “First, the plaintiff must have suffered an „injury in fact.‟ This consists of an invasion of a
27          legally—protected interest which is (a) concrete and particularized and (b) actual or
            imminent, not conjectural or hypothetical. Second, there must be a causal connection
28
            between the injury and the conduct serving as the basis of the lawsuit. In other words, the

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             injury has to be fairly traceable to the challenged action of the defendant and not the result
 1           of the conduct of a third party not before the court. Third, it must be likely, as opposed to
 2           merely speculative, that the injury will be redressed by a favorable decision.”

 3   Parr v. L & L Drive-Inn Rest., 96 F. Supp. 2d 1065, 1077 (D. Haw. 2000) (citations omitted).

 4           Here, Cortez alleges that on May 22, 2013, and on a number of other occasions, he visited
 5
     the Park with his great-granddaughter, pushing her wheelchair as required. Doc. No. 1, Complaint
 6
     at ¶ 21. During his visit, Cortez and his great-granddaughter encountered barriers, including sandy
 7
     paths, that encumbered their navigation through the Park. Doc. No. 1, Complaint at ¶¶ 22-23.
 8
     Cortez alleges that the Park facilities cause him and his great-granddaughter to “experience
 9

10   difficulty and feel anxious, embarrassed, conspicuous, unwelcomed and like second class

11   citizens.” Doc. No. 1, Complaint at ¶ 24. Therefore, Cortez alleges a concrete and particular injury
12   separate and distinct from his great-grandaughter‟s.
13
             Cortez alleges that his injuries are caused by the Park‟s condition and its facilities‟
14
     incompliance with ADA Title II requirements. Doc. No. 1, Complaint at ¶ 39. Cortez alleges that
15
     the City owns, operates, and controls the Park‟s facilities. Doc. No. 1, Complaint at ¶ 8. Cortez‟s
16

17   injuries are, therefore, fairly traceable to the challenged action.

18           Cortez seeks relief in the form of an injunction ordering the City to modify its facilities and

19   practices to bring them into compliance with ADA Title II requirements. Cortez‟s alleged injuries
20   are redressable by the Court. Thus, Cortez satisfies Article III requirements.
21
         The City‟s motion to dismiss the first cause of action is denied.
22
         b. Rehabilitation Act Section 504 Standing
23
             Cortez alleges discrimination under RA Section 504, 29 U.S.C. § 794(a), under a theory of
24

25   an aggrieved person within the meaning of RA Section 504. Doc. No. 1, Complaint at ¶ 46. The

26   City responds that Cortez has failed to state a claim upon which relief can be granted. Doc. No. 4,

27   Motion at 10:7-12:2. In particular, the City argues that Cortez has failed to plead that he is
28
     disabled within the meaning of Section 504 and that he has failed to plead that discrimination

                                                         9
     occurred solely because of the disability. Id. The City‟s argument is unpersuasive.
 1

 2          In relevant part, Section 504 states:

 3          “No otherwise qualified individual with a disability in the United States, as defined in
            section 705(20) of this title, shall, solely by reason of her or his disability, be excluded
 4          from the participation in, be denied the benefits of, or be subjected to discrimination under
            any program or activity receiving Federal financial assistance or under any program or
 5
            activity conducted by any Executive agency or by the United States Postal Service.”
 6
     29 U.S.C. § 794. Under Section 504, “[o]ne form of prohibited discrimination is the exclusion
 7
     from a public entity's services, programs, or activities because of the inaccessibility of the entity's
 8
     facility….” Barden v. City of Sacramento, 292 F.3d 1073, 1075 (9th Cir. 2002).
 9

10          Thus, to establish a violation of Section 504, Cortez must show that (1) his granddaughter

11   is handicapped within the meaning of the RA; (2) she is denied the benefit of or participation in
12   the service; (3) she is denied the benefit or services solely by reason of her handicap; and (4) the
13
     program providing the benefit or services receives federal financial assistance. See 29 U.S.C. §
14
     794.
15
            Cortez alleges that his great-granddaughter has significant disabilities, uses a wheelchair
16

17   for mobility and is a “physically disabled person” within the meaning of Section 504. Doc. No. 1,

18   Complaint at ¶ 5. Cortez alleges that he and his granddaughter are excluded from and denied full

19   access to the Park. Doc. No. 1, Complaint at ¶¶ 22, 25. Cortez solely alleges that his
20   granddaughter‟s disabilities are the reason she is excluded. Doc. No. 1, Complaint at ¶ 22. Cortez
21
     alleges that the City receives federal financial assistance. Doc. No. 1, Complaint at ¶ 7. Thus,
22
     Cortez has alleged a prima facie cause of action under Section 504.
23
            Section 504‟s enforcement provision states:
24

25          “The remedies, procedures, and rights set forth in title VI of the Civil Rights Act of 1964
            (42 U.S.C. 2000d et seq.) (and in subsection (e)(3) of section 706 of such Act (42 U.S.C.
26          2000e-5), applied to claims of discrimination in compensation) shall be available to any
            person aggrieved by any act or failure to act by any recipient of Federal assistance or
27          Federal provider of such assistance under section 794 of this title.”
28
     29 U.S.C. § 794a(a)(2) (emphasis added). The Supreme Court has explained Section 504‟s

                                                       10
     remedial boundaries:
 1

 2          “Section 505(a)(2) of the Rehabilitation Act, in turn, declares that the “remedies,
            procedures, and rights set forth in title VI of the Civil Rights Act of 1964 ... shall be
 3          available” for violations of § 504, as added, 92 Stat. 2983, 29 U.S.C. § 794a(a)(2). Thus,
            the remedies for violations of § 202 of the ADA and § 504 of the Rehabilitation Act are
 4          coextensive with the remedies available in a private cause of action brought under Title VI
            of the Civil Rights Act of 1964, 42 U.S.C. § 2000d et seq., which prohibits racial
 5
            discrimination in federally funded programs and activities.”
 6
     Barnes v. Gorman, 536 U.S. 181, 185 (2002). On a plain reading of Section 504, any person
 7
     aggrieved by the City‟s failure to adhere to Section 504 may seek any form of relief available
 8
     under Civil Rights Act of 1964 Title VI. Cortez has alleged that he is aggrieved by difficulty
 9

10   navigating his great-granddaughter‟s wheelchair through the Park. Accordingly, Cortez has

11   statutory standing under Section 504.
12          The City‟s motion to dismiss the second cause of action is denied.
13
        c. California Disabled Persons Act Standing
14
            Cortez alleges discrimination under the DPA for the City‟s failure to ensure that the Park, a
15
     facility constructed or altered after 1981, complies with California disability access standards.
16

17   Doc. No. 1, Complaint at ¶¶ 51, 52. Cortez also invokes California Civil Code Section 54(c),

18   which states: “A violation of the right of an individual under the Americans with Disabilities Act

19   of 1990 (Public Law 101-336) also constitutes a violation of this section.” Doc. No. 1, Complaint
20   at ¶ 53. Cortez prays for statutory damages and attorneys‟ fees pursuant to California Civil Code
21
     Section 54.3(a). Doc. No. 1, Complaint at ¶ 55. Cortez expressly declines to seek remedies under
22
     California Civil Code Section 55 and does not seek injunctive relief under the DPA. Doc. No. 1,
23
     Complaint at 14:1-3.
24

25          As with the ADA Title II and RA Section 504 causes of action, the City argues that

26   Cortez‟s complaint should be dismiss for failure to state a claim upon which relief can be granted.

27   Doc. No. 4, Motion at 12:3-26. The City‟s argument is persuasive.
28

                                                      11
            The DPA incorporates ADA violations as a basis for relief. Jankey v. Song Koo Lee, 55
 1

 2   Cal. 4th 1038, 1045 (Cal. 2012). The DPA does not incorporate ADA Title II‟s remedies. Cortez

 3   must therefore seek remedies afforded to him by the DPA. The question becomes whether

 4   California Civil Code Section 54.3(a) affords Cortez relief as a non-disabled plaintiff.
 5
            The California Legislature created three avenues of relief for DPA causes of action. Cortez
 6
     requests relief solely under Section 54.3(a). Doc. No. 1, Complaint at ¶ 55. In Arnold v. United
 7
     Artists Theatre Circuit, Inc., 158 F.R.D. 439, 457-58 (N.D. Cal. 1994), the court discussed in-
 8
     depth whether Section 54.3(a) confers standing upon a non-disabled individual to sue on behalf of
 9

10   a disabled individual. The Arnold court explained:

11          “California courts have instructed that where the words of a California statute are not
            ambiguous and their plain meaning can be given effect, that meaning should control; only
12          where statutory text is ambiguous and does not resolve the issue in question should courts
            consult the variety of canons and rules of statutory construction that California courts have
13
            prescribed for application in different contexts. Estate of Wilson, 265 Cal.App.2d 943, 950,
14          71 Cal.Rptr. 822 (1 Dist.1968) (citing County of Sacramento v. Hickman, 66 Cal.2d 841,
            59 Cal.Rptr. 609, 428 P.2d 593 (1967)).
15
            “The text of § 54.1 reads, in pertinent part:
16

17                  „Individuals with disabilities shall be entitled to full and equal access, as other
                    members of the general public, to accommodations, advantages, facilities, and
18                  privileges of all ... places of public accommodation, amusement, or resort....‟

19          “Section 54.3, the code section providing for a damage remedy for violations of § 54.1
            reads, also in pertinent part:
20

21                  „Any person or persons, firm or corporation who denies or interferes with
                    admittance to or enjoyment of the public facilities as specified in Sections 54 and
22                  54.1 or otherwise interferes with the rights ... of an individual with a disability
                    under Sections 54, 54.1 and 54.2 is liable for each ... offense for [certain damages],
23                  suffered by any person denied any of the rights provided in Sections 54, 54.1, and
                    54.2.‟
24

25          “Although its text does not say so in so many words, the clear inference supported by §
            54.3 is that the liability for damages created under the code section may run only in favor
26          of a party who has had her rights under the referenced antecedent code sections violated.
            This means that, for present purposes, only persons in whom § 54.1 vests rights may sue
27          for damages under § 54.3. The most natural reading of § 54.1 is that the provision vests
            rights only in “individuals with disabilities.” In view of that fact, the Court concludes that
28

                                                       12
            it is the plain meaning of § 54.3 that the provision confers a cause of action only on
 1          disabled persons injured by disability access violations.
 2
            “This conclusion is reinforced when one compares the language of § 54.3 with that of § 55,
 3          the code section vesting certain persons with a cause of action for injunctive relief for
            violations of California disability access standards. Section 55 provides, in pertinent part:
 4
                    „Any person who is aggrieved or potentially aggrieved by a violation of Section 54
 5
                    or 54.1 of this code [or various other provisions] may bring an action to enjoin the
 6                  violation.‟

 7          “(Emphasis added). Unlike § 54.3 which limits its remedy to damages suffered by persons
            vested with rights under § 54.1, § 55 extends to all persons aggrieved (or even potentially
 8          aggrieved) by violations of § 54.1 the right to sue. The § 55 formulation gives rise to the
            possibility that even persons who are not themselves vested with rights under § 54.1 may
 9
            still be injured by violations of others' § 54.1 rights such that they may be deemed to be
10          “aggrieved” within the meaning of § 55, and therefore entitled to sue.”

11   Arnold v. United Artists Theatre Circuit, Inc., 158 F.R.D. 439, 457-58 (N.D. Cal. 1994)
12   (alterations in original); see also Jankey v. Song Koo Lee, 55 Cal. 4th 1038, 1045 (Cal. 2012)
13
     (“Section 55 is part of the Disabled Persons Act, but it offers an independent basis for relief. It is
14
     broader in two respects than the private right of action authorized by section 54.3: section 55
15
     extends standing to those “potentially aggrieved,” not just those who have been actually denied
16

17   access, and relief may be predicated on potential violations not only of sections 54 and 54.1…”)

18   (internal citations omitted).

19          As the Arnold court explained, Section 54.3(a) does not vest remedies for DPA violations
20   in a non-disabled individual as a disabled individual‟s companion. Accordingly, while Cortez may
21
     have access to relief under Sections 54.3(b) and/or 55, he does not have access to relief under
22
     Section 54.3(a). Because Cortez declines to seek a remedy other than that enumerated in Section
23
     54.3(a), Cortez has failed to state a claim upon which relief can be granted.
24

25          The City‟s motion to dismiss the third cause of action is granted.

26      d. Application for Stay and Early Evaluation Conference

27          The City has asked for a 90-day stay of proceedings pursuant to California Civil Code
28   Section 55.54(d)(1). Doc. No. 6 at 2:5. The City also requests a mandatory early evaluation

                                                       13
     conference or similar proceeding pursuant to Civil Code Section 55.54(d)(2). “[F]or federal law to
 1

 2   preempt state law, it is not necessary that a federal statute expressly state that it preempts

 3   state law. Federal law preempts state law if the state law „actually conflicts‟ with federal law.”

 4   Hubbard v. SoBreck, LLC, 554 F.3d 742, 744 (9th Cir. 2009). The ADA does not provide
 5
     mandatory stays and early evaluation conferences to accommodate site inspections. “Any state law
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     requirement that a claim brought under the ADA be subjected to such a procedure, then, clearly
 7
     conflicts with federal law.” O'Campo v. Chico Mall, LP, 758 F. Supp. 2d 976, 985 (E.D. Cal.
 8
     2010). Therefore, a stay of proceeding and an early settlement conference are not appropriately
 9

10   applied to the ADA and RA causes of action.

11          Federal courts considering claims under state law apply federal procedural law and state
12   substantive law. Erie R. Co. v. Tompkins, 304 U.S. 64, 78 (1938). “[W]hen a Federal Rule of Civil
13
     Procedure governs a situation, the Court applies the rule, even if in direct conflict with relevant
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     state law. Leuzinger v. Cnty. of Lake, 253 F.R.D. 469, 472 (N.D. Cal. 2008). In this instance, “no
15
     federal rule or procedure addresses mandatory early evaluation conferences and stays of
16

17   proceedings under the relevant federal Acts.” O'Campo v. Chico Mall, LP, 758 F. Supp. 2d 976,

18   985 (E.D. Cal. 2010). Therefore, we determine if the requested action is procedural or substantive

19   by whether it is outcome determinative. See Guaranty Trust Co. v. York, 326 U.S. 99, 109 (1945).
20          In O’Campo, the court was faced with determining whether a stay of proceedings and a
21
     mandatory evaluation conference was substantive or procedural under ADA and DPA claims in a
22
     federal court. O'Campo v. Chico Mall, LP, 758 F. Supp. 2d 976, 985 (E.D. Cal. 2010). The
23
     O’Campo court determined that while an evaluation conference could presumably lead to
24

25   resolution through settlement, it did not qualify as outcome determinative under the Erie doctrine.

26   Id. Similarly, the court found that a stay of proceedings was not likely to be outcome

27   determinative. Id. Therefore, neither action affected the parties‟ legal rights or entitlement to relief
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                                                       14
     and the court could not order parties to engage in the early evaluation conference. Id. The Court
 1

 2   agrees.

 3             The City‟s motion for a stay of proceedings and an early evaluation conference is denied.

 4                                                IV.    Conclusion
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               Based on the foregoing, IT IS HEARBY ORDERED that:
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               1. The City‟s motion to dismiss the first cause of action for failure to state a claim upon
 7
                  which relief can be granted under Americans with Disabilities Act Title II is DENIED;
 8
               2. The City‟s motion to dismiss the second cause of action for failure to state a claim
 9

10                upon which relief can be granted under Rehabilitation Act Section 504 is DENIED;

11             3. The City‟s motion to dismiss the third cause of action for failure to state a claim upon
12                which relief can be granted pursuant to California Civil Code Section 54.3(a) is
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                  GRANTED with prejudice; and
14
               4. The City‟s motion for a stay of proceedings and an early evaluation conference is
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                  DENIED.
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18   IT IS SO ORDERED.

19   Dated: August 8, 2014
                                                    SENIOR DISTRICT JUDGE
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